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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 SPENCER ACKERMAN,

                 Plaintiff,
                                                           Civil Action No. 24- 2858 (TNM)
          v.

 FEDERAL BUREAU OF INVESTIGATION,

                 Defendant.


                DEFENDANT’S SUPPLEMENTAL JOINT STATUS REPORT

        Defendant, the Federal Bureau of Investigation by and through undersigned counsel,

respectfully submits the following supplemental joint status report, consistent with its indication

in the Parties’ March 14, 2025, Joint Status Report (ECF No. 13).

         Plaintiff filed its complaint on October 11, 2024, ECF No. 1, regarding its May 20, 2024,

Freedom of Information Act (“FOIA”) requests made to the Federal Bureau of Investigation. See

id. ¶

         In response to Plaintiff’s portion of the March 14, 2025, Joint Status Report (ECF No. 13),

Defendant notes that the Plaintiff has sent three separate emails related to the issue of processing

and the scope of the request. All three of these emails included discussion of issues unrelated to

the scope of the request, include the prioritization of certain records and questions about overall

search performed, issues which the FBI has addressed in the parties’ joint status report filed on

March 17, 2025.      Additionally, the Plaintiff’s February 19, 2025, and March 7, 2025, emails

included questions about the FBI’s system capabilities, including the FBI had “certain capabilities

to sort and limit its record collection for this case” by utilizing “threading” or “hashing” functions

to remove certain types of records. For the same reasons already addressed by the Defendant, the



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FBI is unable to accommodate the Plaintiff’s proposal. Specifically, the FBI does not use the

eDiscovery tools Plaintiff references to process FOIPA requests and utilizes the FOIPA Document

Processing System (“FDPS”) as a workflow management tool to process responses to FOIA and

Privacy Act requests. FDPS operates differently than an eDiscovery tool, and the FBI is unable to

use FDPS to perform automated removal of certain record types as Plaintiff suggests, including

records that are duplicates or publicly available.

       With respect to the scope of the search, by email dated January 10, 2025, the Plaintiff

advised the Defendant that the following records could be removed from the scope of the request:

           •   Duplicate records
           •   Publicly available news reports, unless intertwined with internal comments or
               analysis by U.S. government employees, and
           •   Versions of the DOJ IG’s 2009 report on FBI involvement in detainee
               interrogations, and the Senate Intelligence Committee's 2014 report on detention
               and interrogation.

       Further, by email dated February 19, 2025 (which was resent by email dated March 7,

2025), the Plaintiff advised the Defendant that the following records could be removed from the

scope of the request:

           •   Duplicate records (identical files)
           •   Duplicated portions of emails (e.g., emails reproduced in later emails in email
               chains, accomplished by common “threading” functions in eDiscovery software)
           •   Publicly available reports and news articles (only if they are possible to easily
               identify).
           •   All Electronic Communication (EC)-type records (generated in the FBI’s internal
               message system)
           •   All Emails (keeping file attachments).

The FBI confirms that it can remove these record types from the overall scope of the request. As

stated above, however, the FBI is unable to use FDPS to perform automated removal of certain

record types, which means that while the records can be removed from the scope of processing,

they cannot be identified in an automated way and removed on the front-end of the processing.



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Specifically, FDPS still requires a manual review of each page in order to identify and remove

these pages. During this manual review, conducted on a monthly interim basis, any pages that fall

into the categories specified by Plaintiff will be marked as “out-of-scope” and will not be

processed. While the FBI recognizes that the time needed to review and process these records is

significant, it should be noted that this is simply the inevitable result of the Plaintiff's request itself,

which encompasses a substantial volume of records, including the complete files for multiple

individuals. To date, the proposals received from Plaintiff have sought prioritization or have

proposed methods for reducing the volume of records which would require automated system

capabilities that the FBI does not have. As such, the Plaintiff’s proposal does not significantly

reduce the overall time needed to process Plaintiff’s request.



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Dated: March 17, 2025             Respectfully submitted,

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                                  United States Attorney


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